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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
                                                                                      08/23/2021
TYRONE PETERS,

                          Plaintiff,                                     ORDER
                 - against -                                             15 Civ. 9274 (NSR)

CORRECTION OFFICER HUTTEL, et al.,

                                   Defendants.

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Román, D.J.:

                 The Court having been advised that all claims asserted herein have been settled, it

is ORDERED, that the above-entitled action be and hereby is discontinued, without costs to either

party, subject to reopening should the settlement not be consummated within sixty (60) days of the

date hereof.

                 The parties are advised that if they wish the Court to retain jurisdiction in this matter

for purposes of enforcing any settlement agreement, they must submit the settlement agreement to

the Court within the next 60 days with a request that the agreement be “so ordered” by the Court.



                 The Clerk of the Court is respectfully directed to mail a copy of this Order to

Plaintiff at the address listed on ECF and to file proof of service on the docket.


SO ORDERED.

               White Plains, New York
Dated:         August 23, 2021
                                                                        Nelson S. Román, U.S.D.J.
